Case 2:20-cv-00672-JLB-MRM Document 12 Filed 11/09/20 Page 1 of 1 PageID 43




                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                              FORT MYERS DIVISION

KELLY ADRIANA LAVACCA

             Plaintiff,

v.                                         Case No.: 2:20-cv-00672-JLB-MRM

EQUIFAX INFORMATION SERVICES,
LLC, and CREDIT COLLECTION
SERVICES, INC.

             Defendants.
                                       /

                                      ORD ER

      Plaintiff has reached a settlement with Defendant Equifax Information

Services, LLC (“Equifax”). (Doc. 11.) Pursuant to Local Rule 3.08(b), the claims

against Equifax are DISMISSED, subject to the right of either Plaintiff or Equifax,

within sixty days, to: (1) submit a stipulated form of final order or judgment, or (2)

move to reopen the case for good cause.

      ORDERED in Fort Myers, Florida, on November 9, 2020.
